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Case 3:95-cr-01985-IEG Document 53 Filed 03/16/01 PagelD.126 Page 2 of 3
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unrfepl scateb prsTRicr COURT

snot MAR e 143 °F OF CALIFORNIA

   

UNITED STATES OF AMERICA,

 

SS ERI TNG OCATION OF SUPERVISED RELEASE
vs JUDGMENT INCLUDING SENTENCE
3Y: DEGNBER THE SENTENCING REFORM ACT
AARON FRANKLIN BRINK
CRIMINAL CASE NO.95CR1985-IEG
THE DEFENDANT: NORMA AGUILAR, FED DEF INC

 

Defendant's Attorney

_X pleaded guilty to count({s) ONE OF THE INDICTMENT,
was found guilty to count(s)

 

Accordingly, the defendant was adjudged guilty of such count(s), which
involve the following offenses:

Titie & Section Nature of Offense Count (s
21 USC 952, 960 ~ IMPORTATION OF MARIJUANA i

X The Court finds, following _X_ admission of the defendant, that the defendant
violated conditions of supervised release.
_X SUPERVISED RELEASE HERETOFORE IMPOSED IS HEREBY REVOKED.

The defendant is sentenced as proved in pages 2 through _2__ of this Judgment
The sentence is imposed pursuant to the Sentencing Reform Act of 1984,

~—< Remaining counts/Underlying indictment were/was dismissed on the
motion of the United States.

_x It was ordered that the defendant shall pay to the United States a special
assessment of $_50,00 which shall be due immediately if not previously paid.

It is further ordered that the defendant shall notify the United States
Attorney for this district within 30 days of any change of residence or
mailing address until all fines, restitution, costs, and special assessments imposed
by this Judgment are fully paid.

MARCH 12, 2001
DATE OF IMPOSITION OF SENTENCE

IRMA FE. GONZALEZ

UNITED STATES DI BR ODGE
ENTERED ON . - €
Case 3:95-cr-01985-IEG Document 53 Filed 03/16/01 PagelD.127 Page 3 of 3

0 245 S Sheet 2 IMPRISONMENT

DEFENDANT: AARON FRANKLIN BRINK Judgment Page 2 of 2
CASE NUMBER: 95CR1985-IEG
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of FOUR (4) MONTHS

 

The Court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

— The defendant shall surrender to the United States Marshal for this
district at a.m./p.m. on
as notified by the Marshal.

 

The defendant shall surrender for service of sentence at the institution
designated by the Bureau of Prisons
on or before
_ as notified by the United States Marshal.
_. as notified by the Probation Office.

RETURN

I have executed this Judgment as follows:

 

 

 

Defendant delivered on to
»With a certified copy of this

 

judgment,

 

UNITED STATES MARSHAL
BY

 

DEPUTY MARSHAL
